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COMPROMISE AND SETTLEMENT AGREEMENT IN
George Lane, Beverly Jones, Ann Marie Zappola, Ralph Ramsey, Dennis Cantrel, and A.
Russell Larson v. State of Tennessee, Bledsoe, Cannon, Chester, Claiborne, Clay, Cocke,
Decatur, Fayette, Grainger, Hancock, Hawkins, Hickman, Houston, Jackson, Jefferson,
Johnson, Lake, Lewis, Meigs, Moore, Perry, Pickett, Polk, Trousdale, and Van Buren
Counties. .
United States District Court for Middle District of Tennessee, Nashville
Case No. 3:98 CV 0731

Plaintiffs (George Lane, Beverly Jones, Ann Marie Zappola, Ralph Ramsey, Dennis
Cantrel, and A. Russell Larson) (“Plaintiffs”) and the State of Tennessee (“State Defendant’)
have agreed to settle the above-styled case. Furthermore, the County Defendants-Cross
Claimants (Bledsoe, Cannon, Chester, Claiborne, Clay, Cocke, ‘Decatur, Fayette, Grainger,
Hancock, Hawkins, Hickman, Houston, Jackson, Jefferson, Johnson, Lake, Lewis, Meigs,
Moore, Perry, Pickett, Polk, Trousdale, and Van Buren) (“County Defendants’) have agreed to
settle and dismiss all claims including cross claims against the State Defendant. The terms of
this Settlement Agreement and Release of Liability are as follows:

1. The State Defendant enters into this Settlement Agreement (“Agreement”) for the
purpose of deferring or eliminating litigation expenses, especially the time commitment that
would be required to adequately defend this case, including but not limited to, trial preparation
and participation at a trial. Such a time commitment would necessarily divert the State
Defendant and its employees from serving the needs of the State Defendant and from their day-
to-day job responsibilities. This Agreement represents a compromise and settlement of disputed
claims and, as such, does not constitute an admission of any liability whatsoever on the part of
the State Defendant or the County Defendants.

2. The State Defendant agrees to pay Plaintiffs the lump sum amount of Nine

Hundred and Five Thousand and 00/100 Dollars ($905,000.00) for attorneys’ fees, costs and

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expenses. This amount includes $40,000 for expenses and $100,000 for expert witness fees and
represents all attorneys’ fees in this case through December 17, 2004 and as needed to resolve
any remaining matters with the State Defendant in this case. This amount may be paid partially
in Fiscal Years 2004-05 and 2005-06 and is subject to the Tennessee General Assembly’s
authorization of sufficient appropriations. It is the intent of the parties that this agreement on
attorneys’ fees shall not serve as precedent with respect to the rate of attorneys’ fees that may be
requested by the Plaintiffs from County Defendants. This Agreement constitutes settlement of
all of the Plaintiffs’ claims against the State Defendant, and any claims or cross-claims by the
County Defendants against the State Defendant.

3. Each County Defendant shall pay Plaintiffs Two Thousand Six Hundred Eighty
and 00/100 Dollars ($2,680.00) per County upon Plaintiffs’ executing a full release as to
Plaintiffs’ injunctive relief claims against the County Defendants. This total amount
($67,000.00) represents the complete payment of all attorneys’ fees, costs and expenses incurred
by Plaintiffs through December 17, 2004 that have not been paid by the State as a part of this
Agreement.

4, The distribution and allocation of the monetary consideration provided herein
regarding Plaintiffs’ attorney fees, costs and expenses is made by Plaintiffs and their attorneys,
and the State Defendant is not involved in the process of allocating such consideration and the
State Defendant makes no representation concerning the allocation. Plaintiffs’ attorneys shall
execute the appropriate federal income tax disclosure forms including the Substitute W-9 Form
and Attorney Fee Information Form. Plaintiffs acknowledge and agree that they are solely and

entirely responsible for the payment and discharge of all federal, state, and local taxes, if any,

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which may be found to be due upon the payments made to them hereunder.

5. The State Defendant through the Tennessee Administrative Office of the Courts
will recommend to the Tennessee Supreme Court that the attached policy on access under the
Americans with Disabilities Act (Exhibit A) be implemented, published on its website, and
provided to appropriate state employees and county officials. In addition, the State Defendant
will conduct training of judges under said policy as well as training of Local Judicial Program
ADA Coordinators to effectuate the policy. The State Defendant through the Tennessee
Administrative Office of the Courts will develop and publish a “Frequently Asked Questions” or
similar type guidance (hereinafter “FAQ document”) to assist in implementation of the State’s
policy on access under the Americans with Disabilities Act (Exhibit A), which shall include the
guidance set forth in the attached Exhibit B. The County Defendants agree to cooperate with the
State Defendant in implementation of the State’s policy on access under the Americans with
Disabilities Act (Exhibit A).

6. The State Defendant agrees that it will give notice to William J. Brown, Counsel
for Plaintiffs, describing the actions taken by the State Defendant in furtherance of the provisions
in Paragraph 4 of this Agreement on July 1, 2005, December 31, 2005 and July 1, 2006. The
State Defendant anticipates that the attached policy on access under the Americans with
Disabilities Act (Exhibit A) will be adopted, published on its website, and provided to
appropriate state employees and county officials by July 1, 2005, that the training anticipated in
Paragraph 4 will be commenced by October 1, 2005, that the FAQ document including the
guidance in Exhibit B will be completed and published on its website, and provided to

appropriate state employees and county officials by December 31, 2005, and that the Local

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Judicial Program ADA Coordinators will be appointed by July 1, 2006. The Parties recognize
that the cooperation of non-parties as well as the County Defendants will be required in order to
accomplish the appointment of the ninety-five Local Judicial Program ADA Coordinators.
Therefore, scheduling flexibility may be required. Until such time as a Local Judicial Program
ADA Coordinator is appointed for a County, the Tennessee Judicial Program ADA Coordinator
will serve as the contact person for such County. The State Defendant agrees to work in good
faith to implement the provisions of Paragraph 5 and to meet these deadlines and if there is an
unavoidable delay, the State Defendant will notify Wiliam J. Brown, Counsel for Plaintiffs, as
soon as practicable.

7. This Agreement constitutes settlement of all of Plaintiffs’ claims against the State
Defendant arising out of the alleged inaccessibility of the State’s judicial program or which
could have been brought in this lawsuit, including, but not limited to, all claims for back pay,
lost wages, compensatory, damages, injuries to person and property, reimbursement of out of
pocket expenses, physical or emotional injury and stress, any punitive type damages, attorneys'
fees, costs, experts' witness fees and any other damages.

8. Plaintiffs agree to, and hereby do, completely release and discharge the State
Defendant, including, but not limited to, the State of Tennessee, its agencies, departments,
officials, employees, and agents, whether current or former, in all of their official and individual
capacities, including, but not limited to, their successors, assigns, servants, agents, attorneys,
subsidiaries, affiliates, officers, directors, and representatives, of and from any and all claims,
demands, actions, and causes of action of any and every kind and character, known or unknown,

that Plaintiffs may have had or may now have against them regarding the alleged inaccessibility

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of the State’s judicial program or which could have been brought in this lawsuit, whether
asserted in this case or otherwise, including, but not limited to, any and all matters asserted in the
case, or which may have been asserted in prior litigation.

9. The County Defendants agree to, and hereby do, completely release and discharge
the State Defendant, including, but not limited to, the State of Tennessee, its agencies,
departments, officials, employees, and agents, whether current or former, in all of their official
and individual capacities, including, but not limited to, their successors, assigns, servants, agents,
attorneys, subsidiaries, affiliates, officers, directors, and representatives, of and from any and all
claims, cross-claims (including indemnity), demands, actions, and causes of action of any and
every kind and character, known or unknown, arising out of this litigation that the County
Defendants may have had or may now have against them, whether asserted in this case or
otherwise. Hereinafter County Defendants agree to defend all of Plaintiffs’ ADA claims brought
in this litigation and will be responsible for any final judgment entered for Plaintiffs on such
claims, any other clause in this agreement notwithstanding.

10. This Agreement does not release Plaintiffs’ claims against the County Defendants
for any County-related attorneys’ fees, costs or expenses incurred by Plaintiffs after December
17, 2004. This Agreement does release the County Defendants from claims for attorneys’ fees
through December 17, 2004.

11. Plaintiffs and County Defendants agree to execute the attached Agreed Order of
Dismissal with Prejudice.

12. Plaintiffs further acknowledge that the payment described in Paragraph 2 herein

constitutes the entire monetary consideration for the complete release provided for herein. The

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terms set forth herein are intended to be the full and complete settlement of this case as to the
State Defendant. No additional compensation is to be paid from the State Defendant regarding
damages, injuries to persons or property, interest, expenses, costs, attorneys’ fees, or other fees.
The parties agree that this Agreement is based upon mutually adequate consideration, and that
this Agreement shall not be subject to attack by any party on the grounds of lack of consideration
or inadequate consideration.

13. The parties acknowledge that they are executing this Agreement entirely upon
their own volition, individual judgment, belief, and knowledge in consultation with counsel; that
this Agreement is made without reliance upon any statement or representation of any party or
any person not herein expressed; that no promise, inducement, or agreement not herein
expressed, has been made to them; that the Agreement contains, and is, the entire agreement and
understanding between the parties herein; and that the terms of this Agreement are contractual
and not mere recitals.

14. Plaintiffs and County Defendants agree that, should they hereafter discover facts
different from, or in addition to, those now known or believed to be true with respect to any
aspect of Plaintiffs’ or County Defendants’ claims or damages sustained, that this Agreement
shall, nevertheless, be and remain in full force and effect in all respects.

15. Should any provision of this Agreement be declared by any court of competent
jurisdiction to be illegal or invalid, the validity of the remaining parts, terms, or provisions will
not be affected thereby, and said illegal or invalid part, term or provision will be deemed not to
be a part of this Agreement; provided, however, that if the releases contained in Paragraphs 7

and 8 herein are declared invalid, then the entire Agreement shall be invalid and the

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consideration paid herein shall be immediately due and payable to State Defendant. The waiver
by any party of a breach or violation of any provision of this Agreement shall not be construed
as a waiver of any other provision or of any subsequent breach or violation of the Agreement.
This Agreement is deemed to have been drafted jointly by the parties. Any uncertainty or
ambiguity shall not be construed for or against any other party based on attribution of drafting to
any party.

16. The United States District Court for the Middle District of Tennessee shall have
exclusive jurisdiction and venue to construe and enforce this Agreément, and to resolve any and
all disputes arising out of or relating to this Agreement, which shall be governed by and
construed in accordance with the laws of the United States and the State of Tennessee.

17. If any party to this Agreement believes that another party is violating its
obligations under this Agreement, or believes a dispute has arisen under the Agreement, then the
Complaining Party shall give written detailed notice (the “Notice”) to the other party (the
“Responding Party’). The Responding Party shall be given thirty (30) days to provide a written
response to the Notice. The Complaining and Responding Parties shall attempt within the next
thirty (30) days to resolve their differences regarding the issue(s) addressed in the Notice. No
action may be instituted in the United States District Court for the Middle District of Tennessee
relating to this Agreement prior to the expiration of the time periods addressed in this Paragraph
or after December 17, 2007. Notice to the State Defendant should be given in writing to the
Administrative Director, Administrative Office of the Courts of the State of Tennessee. Notice
to a County Defendant should be given in writing to the County Executive/Mayor and the

County Attorney. Notice to Plaintiffs should be given in writing to William Brown.

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18. Reasonable attorneys’ fees, costs and expenses may be sought in any judicial
proceeding relating to this Agreement by the prevailing party to the extent allowed by law.

19. The undersigned declare that all of the terms of this Agreement have been
completely read, are fully understood, and accepted by them, and that they have had the benefit
of counsel with their attorneys in connection herewith or that, if attorneys, they are authorized to
enter this agreement including on behalf of their clients. The undersigned further declare that
these terms have been agreed to voluntarily, without any undue influence, coercion, or improper
motive.

20. This Agreement is subject to the approval of the Attorney General, Comptroller,
and Governor pursuant to Tenn. Code Ann. § 20-13-103. Should this Agreement be rejected by
any of those officials, then the dismissal shall be set aside and the case shall be placed back on

the active docket for disposition.

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2628 Filed 11/08/24 Page 9 of 61

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George Lane
Plaintiff

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above named known to me personally or made known to me by satisfactory proof, who was duly

swom and an oath executed the above verification. p
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Plaintiff

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sworn and an oath executed the above verification. p.

Notary Public

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pate:__|+ 1-005 Oy, fy) _.
Ralph Ramsfy SD
Plaintiff

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Notary Public

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2631 Filed 11/08/24 Page 12 of 61

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Plaintiff

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122572SEM/mb Page 12 of 43
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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2632 Filed 11/08/24 Page 13 ‘of 61

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ussell Larson
Plaintiff
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sworn ind an oath executed the above en Q
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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2633 Filed 11/08/24 Page 14 of 61

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Dennis Cantret
Plaintiff

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v an oath executed the above verification.
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Notary Public

My Commission Expires NOV. 22, 2008

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2634 Filed 11/08/24 Page 15 of 61

DATE: / Jp i/ 2005

ilianf Brown
Attorneys for Plaintiff

pate: _[//4/A00S July. 0, /

Martham. Lafferty  //
Tennessee Protection and Advocacy,

Attorneys for Plaintiff

DATE:

Linda Dardarian
Attomeys for Plaintiff

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Estes & Dannell 615 256 9386 p.2

jan 14 05 o7:01p Stewart,

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Brown Cc

Attomeys for Plaintiff

DATE: [ZIG AOS Jbl. 4 by ilix

MarthaM. Lafferty 7/7
Tennessee Protection. and Advocacy
Attorneys for Plaintiit

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‘ Linda Dardarian
' Attorneys for Plaintiff

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2636 Filed 11/08/24 Page 17 of 61

DATE: Januiry 14 2005 Cornuwe A Clank
Defendant, State of Tennessee,
Administrative Office of the Courts
by Cornelia A. Clark, Director

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o eG S. Elizabeth Martin ©
Office of the Tennessee Attorney General &
Reporter
Attorneys for State Defendant

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/ , Thomas M. Donn, Jr., Esq. 4

Attorney for Defendant Counties Bledsoe,
Chester, Decatur, Grainger, Hawkins,
Houston, Jackson, Johnson, Meigs, Perry,
Pickett, Polk, Trousdale, and Van Buren

pate: Marck 2000S

E. Quinn, Esq.
Attomey fof Defendant Counties Claiborne,
Clay, Cocke, Cannon, Lewis, Fayette,
Lake, and Moore

pare: Mauth 7 2008 p 4 oho

Peggy T, , Esq.
Attorneys fr Defendant Counties Jefferson
and Hickman
DATE:
Floyd Rhea
Attomey for Defendant County Hancock
122572,SEM/mb

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2638 Filed 11/08/24 Page 19 of 61

DATE:

Thomas M. Donnell, Jr., Esq.

Attorney for Defendant Counties Bledsoe,

Chester, Decatur, Grainger, Hawkins,

Houston, Jackson, Johnson, Meigs, Perry,
- Pickett, Polk, Trousdale, and Van Buren

DATE:

John E. Quinn, Esq.

Attorney for Defendant Counties Claiborne,
Clay, Cocke, Cannon, Lewis, Fayette,
Lake, and Moore

DATE: |

Peggy Tolson, Esq.
Attorneys for Defendant Counties Jefferson
and Hickman

pare: _[-20-°5 “lou w {bo

Floyd Rigs
Attorney for Defendant County Hancock

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DATE: fon, 2y.L00s

On behalf of B1 County, Defendant

Onthis the 24 day of dean : , 2005, personally appeared before me the above

named known to me personally or made known to me by satisfactory proof, who was duly sworn
and an oath executed the above verification.

Notary Publi

My commission expires:___4 |, o&

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For Defendant County:

Cannon County, Tennessee

By: \ _ FEB Y 3 200

Mike Gannon, County Mayor

Date: (/ z so Ss

For Defendant County:

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TOTAL P.@2
Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2641 Filed 11/08/24 Page 22 of 61

DATE: _ /-2/- 25° Sheet) L44t4

On’behalf ofWester _ Coufity, Defendant
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and an oath executed the above-verification Caonrols
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For Defendant County:

STATE OF TENN
ATTORNEY GENERAL

FEB 03 2905
ANTITRUST DIVISION

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For Defendant County:

D
Clay County, Tennessee YAN

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By: LE J. Kha. at pNISION

Make Collins, County Mayor

Date: / -f b ~ OS

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For Defendant County:

Cocke County, Tennesgee
Hof STATE OF
| ATTORNEY AGN, AM
By: C 1 ES —F Xs FER 03 2005
Tiff McMahan, #r., County Mayor
ANTITRUST DIVISION
Date: [ . el OS

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2645 Filed 11/08/24 Page 26 of 61

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On mn behalf at Decatur Cammy. Defendant e

On this the 74 4 day of Tee puta bts» 2005, personally appeared before me the above
named known to me personally or made known to me by satisfactory proof, who was duly sworn

and an oath executed the above verification. -
Notary Public ;

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2646 Filed 11/08/24 Page 27 of 61

For Defendant County:

Fayette County, Tennessee

NZ Fh
By: f_ 7

Rhea Taylor, County Mayor

Date: Cons 2S) Zoo

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STATE OF TENN.
ATTORNEY GENERAL

FER 03 2005
ANTITRUST DIVISION
Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2647 Filed 11/08/24 Page 28 of 61

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On behalf of Graingér County, Defendant

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CO;

On behalfofHawkins County, Defendant |)

My commission expires: Aeilinluss 27, 2005

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2649 Filed 11/08/24 Page 30 of 61

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3 TENNESSEE
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On behalf ofHouston County, Defendant

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and an oath executed the above verification.
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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2651 Filed 11/08/24 Page 32 of 61

DATE:_/- 24-£@05 Af Lhe

A On behalf of Jackson County, Defendant

On this the HY day of WnUuary , 2005, personally appeared before me the above
named known to me personally or made known to me by satisfactory proof, who was duly sworn
and an oath executed the ao Fon.

Pe thf LEAR L Sn
Notary Public

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2652 Filed 11/08/24 Page 33 of 61

DATE: //22 Jos

Kk f fe A§ Of County, D,

On this the 27 day of feta ut42005, personally appeared before me the above
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and an oath executed the above verification.

Notary Public

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MY COMMISSION EXPIRES AUGUST 12, 2008

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DATE: 6 U 27/os (2, Catan

On behalf/oy fAohnson County, Defendant

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and an oath executed the above pan.
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For Defendant County:

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TATE OF TENN.
ATTORNEY GENERAL

FEB 03 2005

ANTITRUST DIVISION
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For Defendant County: STATE OF TENN

ATTORNEY GENERAL
FEB 03 2005
ANTITRUST DIVISION

Lewis County, Tennessee

Zant

Po aks
““fenneth Turnbow, County Mayor

Date: LR L205

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Case 2:22-cv-12951-JJCG-APP ECF No. 142-2, PagelD.2656 Filed 11/08/24 . Page 37 of 61

pee / f — ¥
DATE: Mu. 21, 200s Lf XZ, ome Co. Pepee

halfof Meigs County, Defendant

On this the 2 lt day of 2005, personally appeared before me the above

named known to me personally or made know#t to me by satisfactory proof, who was duly sworn
and an oath executed the above vey ion. ved

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My commission expires: 9 If, iy

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For Defendant County:

F TENN.
mS aNeY GENERA!

Moore County, Tennessee CER 03 2005

y & Yh Ce ANTITRUST DIVISION
By: LG Gy, A HIT :

Peggy Gattis, County Mayor

Date: )-2 ,-6S

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On behalf df Perr Perry County, Defendant

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named known to me personally or made known to me by satisfactory proof, who was duly sworn

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Notary Public

My commission expires: /0 -97- 202 S

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On behalf of, Pickett County, Det Defendant
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f Polk County, Defendant

DATE: } —dj-~ Ds

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and an oath executed the above#p

, 2005, personally appeared before me the above

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On behalfof Trousd. alcCounty, Defendant

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named known to me personally or niade knowh to me by satisfactory proof, who was duly sworn

and an oath executed the above verification. .
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Notary Public v

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DATE: January 27, 2005 (Lane Ly, d. Lbustrr

Onbehalf of Boren County, Defendant

On this the a 7 day of 5 Ou )__, 2005, personally appeared before me the above
named known to me personally or made known to me by satisfactory proof, who was duly sworn

and an oath executed the above verification.
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Notary Publi

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TENNESSEE JUDICIAL BRANCH AMERICANS WITH DISABILITIES ACT POLICY
REGARDING ACCESS TO JUDICIAL PROGRAMS

INTRODUCTION

The Americans with Disabilities Act, 42 U.S.C. 12131 et seq., prohibits discrimination
against any qualified individual with a disability. Pursuant to the provisions of the ADA and 28
C.F.R. 35.130, the Judicial Branch of the State of Tennessee does not permit discrimination against
any individual on the basis of physical or mental disability in accessing or participating in its judicial
programs. Consistent with this policy, the Judicial Branch for the State of Tennessee shall conduct
its services, programs or activities, when viewed in their entirety, in a manner that is readily
accessible to and usable by qualified individuals with disabilities. This standard does not require that
each existing facility be accessible, but rather ensures “program accessibility’ which may be
provided by methods including alteration of existing facilities, acquisition or construction of
additional facilities, relocation of a service or program to an accessible facility, or provision of
services at alternate sites. In choosing among available methods for meeting this requirement, the
State of Tennessee shall give priority to those methods that offer the services, programs and activities
of the Judicial Program in the most integrated setting appropriate. In furtherance of this policy and
to ensure that those responsible for the administration of justice have a set of guidelines from which
they will be able to execute this policy, the following guidelines and principles are hereby adopted.

STANDARDS FOR ACCESS TO THE JUDICIAL PROGRAM
OF THE STATE OF TENNESSEE

1. The Tennessee Judicial Branch will provide reasonable modifications in its rules, policies,
services and practices, when necessary, to provide effective access to a qualified individual
with a disability. A “reasonable modification” may include, but is not limited to, making a
change in or exception to policies, practices, and procedures; furnishing, at no charge, to the
qualified individual with disability auxiliary aids and services, which include but are not
limited to equipment, devices, materials in alternative formats, and qualified interpreters or
readers; and relocating judicial programs, services or activities to alternate accessible
facilities or alternate accessible sites; or making each service, program or activity, when
viewed in its entirety, readily accessible to be usable by qualified persons with a disability
requesting modifications.

2. In the event that the reasonable modification requires relocation of a judicial program,
service or activity to an alternate facility or site, the alternate facility or site shall comply with
the requirements of the Americans with Disabilities Act and the Tennessee Public Buildings
Accessibility Act. The alternate facility or site shall also comply with Tennessee law
concerning the location of county courthouses.

3. The Local Judicial Program ADA Coordinator in a county where the county courthouse is
not ADA compliant, shall maintain a list of alternate facilities or sites that may be used for

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relocation of judicial programs, services and activities. An up to date copy of the alternate
facility or site list shall be submitted to the Tennessee Judicial Program ADA Coordinator.

4. The following terms are relevant to the operation of this policy. These definitions are
derived from the provisions of 28 C.F.R § 35.104. Other definitions material to the operation
of this policy but not otherwise contained herein may be found at 28 C.F.R § 35.104.

(a) Disability means, with respect to an individual, a physical or mental
impairment that substantially limits one or more of the major life activities
of such individual; a record of such an impairment; or being regarded as
having such an impairment.

(b) Facility means all or any portion of buildings, structures, sites, complexes,
equipment, rolling stock or other conveyances, roads, walks, passageways,
parking lots, or other real or personal property, including the site where the
building, property, structure or equipment is located.

(c) Individual with a disability means a person who has a disability.

(d) Qualified individual with a disability means an individual with a disability

who, with or without reasonable modification to rules, policies, or practices,
the removal of architectural, communication, or transportation barriers, or the
provision of auxiliary aids and services, meets the essential eligibility
requirements for the receipt of services or the participation in programs or
activities provided by a public entity.

5. The Tennessee Judicial Branch has Judicial Program ADA Coordinator, employed by the
Administrative Office of the Courts (AOC), who oversees the administration of this policy,
any complaints associated with issues raised by this policy, and Requests for Modification
under the Americans with Disabilities Act within the Judicial Branch, and will have the
ultimate responsibility for compliance with this policy. The Tennessee Judicial Program

ADA Coordinator is Pamela L. Taylor, who may be reached at (615) 741-2687or at 800-448-
7970

6. The Tennessee Judicial Program ADA Coordinator will designate a Local Judicial Program
ADA Coordinator for each county in a judicial district, who will be responsible for handling
all Requests for Modification to access judicial programs, activities and services within that
county. The Local Judicial Program ADA Coordinator should be involved with or familiar
with the judicial program of the county.

REQUEST FOR MODIFICATION FOR ACCESS TO JUDICIAL PROGRAMS

7. Submission of Request. Persons requiring modification to obtain access to judicial

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programs, services or activities at any facility used for such purposes should contact the
Local Judicial Program ADA Coordinator (Coordinator). A written Request for
Modification is preferred. However, this request may be made by telephone to the
Coordinator. In such instances, the Coordinator shall commit such requests to writing. The
Coordinator shall maintain a record of all Requests for Modification. A Request for
Modification form is available and may be obtained from the Local Judicial Program ADA
Coordinator, the Tennessee Judicial Program ADA Coordinator, any court clerk’s office, or
online at www.tse.state.tn.us. If appropriate or upon request, the Local Judicial Program
ADA Coordinator or the Tennessee Judicial Program ADA Coordinator will provide
assistance with writing and submitting the written request for Modification. Large print and
Braille versions of the Request form are available upon request. If appropriate, other
personnel associated with the judicial program, service or activity may assist the applicant
in the submission of a completed Request for Modification to the Coordinator.

The written Request for Modification shall include a description of the person’s disability,
the role of the person in the judicial proceeding, the Modification sought, the date and time
of the Modification requested, and the judicial proceeding for which the Modification is
sought. Once a Request for Modification has been granted, the Local Judicial Program ADA
Coordinator will advise the applicant of the procedure to be followed with regard to
subsequent proceedings associated with the original Request. Ifnecessary, the Local Judicial
Program ADA Coordinator may require the applicant to provide additional information about
the qualifying disability in order to determine the appropriate Modification to meet the
applicant’s needs, but only such information that may be required to make such a
determination. Under no circumstances will the Local Judicial Program ADA Coordinator
be permitted to request information regarding the applicant’s disability that is not necessary
for the evaluation of the Modification requested.

8. Who Should Submit a Request for Modification. An application requesting Modification
may be submitted by any lawyer, party, witness, juror or other individual with an interest in

attending any judicial program, activity or service or another person on behalf of such
interested person.

9. When to Submit a Request. The Request for Modification should be submitted with as
much advance notice as possible, but in any event should be made no less than five (5)
business day prior to the date for which the Modification is sought. An immediate Request
for Modification should be made when urgent and/or emergency circumstances arise. In
criminal cases where a defendant is confined to jail, the Request for Modification should be
made as soon as possible. However, it may be necessary that the Request for Modification
may be made contemporaneously with his or her initial court appearance.

10. | When There Is No Request. In the event that a person requiring a Modification has not

made a timely Request for Modification, the court may, in its discretion, immediately grant
such Modification without requiring an advance written request. In such a case, a Request

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for Modification form shall be completed by either the person requesting Modification or
court personnel for the court’s records. Alternately, the court may, in its discretion,
postpone, reschedule or otherwise delay the judicial program, service or activity affected.
Under such circumstances, the individual requesting Modification shall be required to
immediately submit a written request. If appropriate or upon request, court personnel will
provide assistance with writing and submitting the request for Modification.

11. Provision of Reasonable Modification. The Local Judicial Program ADA Coordinator
will, as soon as practicable, notify the requesting individual of the Modification to be
provided. An alternate Modification may be offered instead of the requested Modification
if the Local Judicial Program ADA Coordinator determines that another equally effective
Modification is available.

12. Additional Time to Achieve Modifications. If the Local Judicial Program ADA
Coordinator determines that additional time may be necessary in order to achieve and/or
obtain Modification, the Local Judicial Program ADA Coordinator shall notify the judge
presiding over the matter, who will determine an appropriate course of action.

13. Denial of a Request for Modification. A request for Modification may be denied only if
the Local Judicial Program ADA Coordinator finds that:

(a) The person making the request is not a qualified individual with a disability; or,

(b) The requested Modification would create an undue financial or administrative
burden; or,

(c) The requested Modification would fundamentally alter the nature of the judicial
program, service or activity; or,

(d) Some other Modification would be as effective and involve less cost or
inconvenience; or,

(e) The applicant has refused to comply with this Policy; or,

(f) The applicant’s failure to comply with this Policy makes impossible or impracticable
the ability to provide the requested Modification.

14. No employee of the Judicial Branch of the State of Tennessee shall retaliate against any
person who exercises his/her rights under the Americans with Disabilities Act or who

requests modification pursuant to this policy.

APPEAL OF AN ADVERSE DECISION AS TO A REQUEST FOR MODIFICATION
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15. | Appeal to Presiding Judge of Judicial District. If a Request for Modification is denied or
the offered alternate Modification is unsatisfactory to the applicant, the applicant may appeal
the decision of the Local Judicial Program ADA Coordinator to the presiding judge of the
judicial district within ten (10) days of the denial of Modification or offer of alternate
Modification. The judge shall rule on the appeal as soon as practicable, and where possible,
in advance of the date of the hearing for which the Modification is requested.

16. Appeal to Administrative Office of the Courts. If an applicant is dissatisfied with the
ruling of the presiding judge resulting from a request for review, the decision may be
appealed to the Director of the Administrative Office of the Courts, or her designee, within
ten (10) days of the ruling by the presiding judge on the request for review. A written request
must include any reasons for disagreement with the previous determinations, as well as the
remedy sought. The Director shall provide a ruling as to the request as expeditiously as
possible.

PUBLIC NOTICE

17, A public notice shall be posted in visible places throughout each facility where judicial
programs, services and/or activities are held, including but not limited to each court clerk’s
office, that identifies the Local Judicial Program ADA Coordinator and the Tennessee
Judicial Program ADA Coordinator. Such public notice shall also provide a website address

where a copy of this policy, implementation guidance, and Request for Modification form
may be obtained electronically.

Should the courthouse facility within which judicial programs, services and/or activities are
provided be inaccessible, a public notice shall be posted on the outside of the building or at
another such location at or near the building that is readily accessible.

NOTICE ON DOCUMENTS COMPELLING COURT PARTICIPATION

18. When a summons, subpoena, juror summons or other pleading, order or document
compelling participation in a judicial program, service or activity is issued, said documents
shall provide notice of the identity of the Local Judicial Program ADA Coordinator, the
Tennessee Judicial Program ADA Coordinator and a specific designation as to how each may
be contacted, including telephone numbers and email addresses. Such notice shall also
provide information about program accessibility and the procedure for submission of
requests for reasonable modifications. Such notice shall also provide a website address
where a copy of this policy and Request for Modification request form may be obtained
electronically.
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REQUEST FOR MODIFICATION
Applicant requests accommodation under Tennessee Judicial Branch Policy Number

Applicant Information

Applicant is: Witness Juror Attorney Party Other (Specify
Nature of Interest):
Name: Court:
Telephone:
Address: Judge:
Case No.:
1. Type of proceeding. Criminal Civil
2.

Proceedings to be covered (e.g., bail hearing, preliminary hearing, particular witnesses at trial, sentencing
hearing, motion hearing, trial):

3. Dates modification needed (specify):

4 Disability necessitating modification (specify):

5. Type of modification requested (specify):

6. Special requests or anticipated problems (specify):

I hereby certify that the above information is true and correct to the best of my knowledge.

Date:

(Signature of Applicant)

C The request for modification is GRANTED.
C OFFER OF REASONABLE ALTERNATE MODIFICATION

CO The request for modification is DENIED because:
___ the applicant is not a qualified individual with a disability
____ the requested modification would fundamentally alter the nature of the judicial program, service or activity
____ the requested modification would create an undue financial or administrative burden
___ the applicant refused to comply with the Policy

the applicant’s failure to comply with the Policy makes impossible or impracticable the ability to provide the
requested Modification

(Specify)

DATE: _

Local Judicial Program ADA Coordinator
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APPEALS

O Presiding Judge Review requested. (Specify reason and the remedy you want):

DATE:

(Signature of Person Requesting Review)

PRESIDING JUDGE REVIEW

I have reviewed the original request for modification, the offer of alternate modification OR the denial of

modification and the reason for the denial, and the reason that this review has been requested and find as follows:

DATE:

PRESIDING JUDGE
J Administrative Office of the Courts Review requested. (Specify reason and the remedy you want):
DATE:

(Signature of Person Requesting Review)

ADMINISTRATIVE OFFICE OF THE COURTS REVIEW

I have reviewed the original request for modification, the offer of alternate modification OR the denial of

modification and the reason for the denial, and the reason that this review has been requested and find as follows:

DATE:

AOC DIRECTOR

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PUBLIC NOTICE

The Americans with Disabilities Act prohibits discrimination against any qualified individual with
a disability. The Tennessee Judicial Branch does not permit discrimination against any individual
on the basis of physical or mental disability in accessing its judicial programs. In accordance with
the Americans with Disabilities Act, if necessary, the Tennessee Judicial Branch will provide
reasonable modifications in order to access all of its programs, services and activities to persons with
qualified individuals with disabilities.

This notice is provided as required by Title II of the Americans with Disabilities Act of 1990.

If you need assistance, have questions or need additional information, please contact your Local
Judicial Program ADA Coordinator:

If you need assistance, have questions or need additional information, you may also contact the
Tennessee Judicial Program ADA Coordinator:

The Tennessee Judicial Branch Americans With Disabilities Act Policy Regarding Access
to Judicial Programs, as well as a Request for Modification form may be found online at
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NOTICE

(To be sent along with Summons, Subpoenas, Juror Summons or other order compelling
participation in a judicial program)

The Americans with Disabilities Act prohibits discrimination against any qualified individual with
a disability. The Tennessee Judicial Branch does not permit discrimination against any individual
on the basis of physical or mental disability in accessing its judicial programs. In accordance with
the Americans with Disabilities Act, if necessary, the Tennessee Judicial Branch will provide
reasonable modifications in order to access all of its programs, services and activities to persons with
qualified individuals with disabilities.

If you require a modification to access the judicial program and/or have special needs because of a
qualified disability, you must submit a written Request for Modification to the Local Judicial
Program ADA Coordinator listed below at least five (5) business days prior to the date of the judicial
program, ifpossible. A form is available from the Local Judicial Program ADA Coordinator or from
the Tennessee Judicial Program ADA Coordinator.

If you need assistance, have questions or need additional information, please contact the Local
Judicial Program ADA Coordinator:

If you need assistance, have questions or need additional information, you may also contact the
Tennessee Judicial Program ADA Coordinator:

The Tennessee Judicial Branch Americans With Disabilities Act Policy Regarding Access
to Judicial Programs, as well as a Request for Modification form may be found online at
www. ts¢.state.m.us,

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ADA JUDICIAL PROGRAM COORDINATORS

STATE OF TENNESSEE

ANDERSON COUNTY

BEDFORD COUNTY

BENTON COUNTY

BLEDSOE COUNTY

BLOUNT COUNTY

BRADLEY COUNTY

CAMPBELL COUNTY

CANNON COUNTY

CARROLL COUNTY

CARTER COUNTY

CHEATHAM COUNTY

CHESTER COUNTY

CLAIBORNE COUNTY

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CLAY COUNTY

COCKE COUNTY

COFFEE COUNTY

CROCKETT COUNTY

CUMBERLAND COUNTY

DAVIDSON COUNTY

DECATUR COUNTY

DEKALB COUNTY

DICKSON COUNTY

DYER COUNTY

FAYETTE COUNTY

FENTRESS COUNTY

FRANKLIN COUNTY

GIBSON COUNTY

GILES COUNTY

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GRAINGER COUNTY

GREENE COUNTY

GRUNDY COUNTY

HAMBLEN COUNTY

HAMILTON COUNTY

HANCOCK COUNTY

HARDEMAN COUNTY

HARDIN COUNTY

HAWKINS COUNTY

HAYWOOD COUNTY

HENDERSON COUNTY

HENRY COUNTY

HICKMAN COUNTY

HOUSTON COUNTY

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HUMPHREYS COUNTY

JACKSON COUNTY

JEFFERSON COUNTY

JOHNSON COUNTY

KNOX COUNTY

LAKE COUNTY

LAUDERDALE COUNTY

LAWRENCE COUNTY

LEWIS COUNTY

LINCOLN COUNTY

LOUDON COUNTY

MACON COUNTY

MADISON COUNTY

MARION COUNTY

MARSHALL COUNTY

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MAURY COUNTY

MCMINN COUNTY

MCNAIRY COUNTY

MEIGS COUNTY

MONROE COUNTY

MONTGOMERY COUNTY

MOORE COUNTY

MORGAN COUNTY

OBION COUNTY

OVERTON COUNTY

PERRY COUNTY

PICKETT COUNTY

POLK COUNTY

PUTNAM COUNTY

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RHEA COUNTY
ROANE COUNTY
ROBERTSON COUNTY
RUTHERFORD COUNTY
SCOTT COUNTY
SEQUATCHIE COUNTY
SEVIER COUNTY
SHELBY COUNTY
SMITH COUNTY
STEWART COUNTY
SULLIVAN COUNTY
SUMNER COUNTY
TIPTON COUNTY

TROUSDALE COUNTY

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UNICOI COUNTY

UNION COUNTY

VAN BUREN COUNTY

WARREN COUNTY

WASHINGTON COUNTY

WAYNE COUNTY

WEAKLEY COUNTY

WHITE COUNTY

WILLIAMSON COUNTY

WILSON COUNTY

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FREQUENTLY ASKED QUESTIONS (FAQs)

Is building a new courthouse required if the current facility housing the judicial program is
not accessible?

No. Public entities are not required to make structural changes to existing facilities if other

methods may be effective in achieving compliance with the Americans with Disabilities Act.
C.F.R. §35.150(b)(1).

What can be done to make the judicial program accessible in a courthouse that is not fully
accessible to the disabled?

Some options might be:

° Where a courtroom is on an inaccessible floor, i.e. second floor in a building with no
elevator, and an accessible courtroom or other room that may be appropriate for use
to house the judicial program, service or activity, restrooms, and other accessible
facilities exist on the first floor of the courthouse, the judicial program may be moved
to the accessible courtroom or other appropriate facilities.

° Where a courthouse is inaccessible and/or the courtroom or other offices related to
the judicial program are inaccessible, the judicial program or service may be moved
to an alternate site that is readily accessible.

° Where the appropriate modification requires the judicial program to employ the use
of audio/visual means from a remote location in the building in which the
proceedings are being held, the means for viewing should be of such quality that the

proceedings are able to be heard clearly and the participants in the courtroom are
identifiable.

° Where a courtroom is inaccessible requiring the relocation of a judicial program,
service or activity, such program, service or activity should not be conducted in a
hallway. It is more appropriate to relocate such program, service or activity to an
accessible location (i.e., courtroom, library or office) on the first floor of the
courthouse or to an alternate site that 1s readily accessible.

If a judicial program has been relocated to an alternate location, can I announce from the
bench the reason for moving the proceedings?

No comments should be made from the bench that would disclose the reason for relocation.
Such disclosure could constitute a discriminatory or retaliatory act, both of which are
prohibited by the Americans with Disabilities Act.

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Is carrying a person with a disability an acceptable method of achieving program
accessibility?

Generally, it is not. Carrying an individual with a disability is considered an ineffective and
therefore an unacceptable method for achieving program accessibility. Carrying will be
permitted only in manifestly exceptional cases, and only if all personnel who are permitted
to participate in carrying are formally instructed on the safest and least humiliating means
of carrying. “Manifestly exceptional” cases in which carrying would be permitted might
include, for example, programs conducted in unique facilities, such as an oceanographic
vessel, for which structural changes and devices necessary to adapt the facility for use by
individuals with mobility impairments are unavailable or prohibitively expensive. Carrying
is not permitted as an alternative to structural modifications such as installation of a ramp or
chairlift. C.F.R. § 35.150(b)(1), analysis supplement.
